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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                          CASE NO . 13-22500-CIV-ALTONAG>             cAliIey

   JONATH AN LORD,M .D .,

            Plaintiff/Relator,


   UNIVERSITY OF M IAM I,

            Defendant.
                                   /

                                          VERDICT FORM

   Do you find from apreponderN ce ofthe evidence:

            That Dr.Lord engaged in Slprotected activity''prior to President Shalala's decision to

   term inatehisemploym entfrom theUniversity ofM inm i?

            AnswerYesorNo:%<s
            Ifyouransweris1<No,''thisendsyolzrdeliberations,and yolzrforeperson should sign and

            datethelastpageofthisVerdictForm .

            Ifyouranswerisç$Yes,''goto thenextquestion.

        .
            Thatal1ofDr.Lord's(Gprotected activity''waswithinthescopeofhisrequiredjobduties
   asChiefComplianceOfficerfortheUniversity ofM iami?

            AnswerYesorNo:51<S
            Please gotothenextquestion.

            ThatPresidentShalalaknew aboutDr.Lord'sC'protected activity''before she decided to

  term inateDr.Lord'semploym entwiththeUniversity ofM iami?

            MswerYesorNo:YKB
       Case 1:13-cv-22500-CMA Document 235 Entered on FLSD Docket 10/04/2022 Page 2 of 2
N,#,                                                           CASE NO. 13-22500-CIV-ALTONAGA

                   Ifyouransweris$'N o,''thisendsyourdeliberations,and yourforeperson should sign and

                   datethelastpageofthisVerdictForm .

                  IfyotlranswerisC$Yes,''gotothenextquestion.
                                       ,




                  ThatPresidentShalala terminated Dr,Lord's employmentwith the University ofM iam i

          becauseofhist'protected activity''?

                  Answervesorxo: ktà
                  IfyouransweristCNo,''thisendsyourdeliberations,and yourforeperson should sign and

                  datethelastpage ofthisVerdictForm ,

                  Ifyouransw eris1(Yes,''go tothenextquestion.

          5.      ThatDr.Lord isentitled to dam ages?

                  A nswerY es orN o:

                  Ifyouranswerist$No,''thisendsyourdeliberations,andyourforeperson should sign and

                  datethelastpage ofthisVerdictForm ,

                  lfyouransweris$(Yes,''please identify theam ount,ifany,thatyou find Dr. Lord should

                  beawarded foreach ofthefollowing categoriesofdamages:

                         Backpay:

                         Intereston thebackpay:

                         Lostvalueofstovk and option sales:

                         Em otionaldistressandpublichum iliation:



          SOSAYWEALL.                                      oATso: hG.A.QGAN

               Foreperson'sSignatur                                 Foreperson'sJurorNum ber
